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                              UNITED ST ATES D ISTRIC T C O U RT
                              SOUTH ERN DISTRICT OF FLO RIDA

                                   Case No.15-20840-COO KE(s)
                                             18U.S.C.j1960
                                             18U.S.C.j982

   UN IT ED STA TES O F A M ER ICA

   &'*.

   SA LO M O N BEN D AY A N,

                   Defendant.
                                                               /

                                SUPER SED ING IN FO R M A TIO N

          The U nited StatesA ttorney alleges that:

                   Pursuantto Title 18,United StatesCode-Section 1960(b)(2),the term ikmoney
   transm itting''incltldestranstkrring funds on behalfofthe public by any and a1lm eans,including

   but not limited to,transfers within this country or to Iocations abroad by wire,check draft,

   tàcsim ile,orcourier.

                   Title 18,United StatesCode,Section 1960(b)(1)(B)requiresmoneytransmitting
   businesses which affbctinterstate or lbreign com m erce in any m anner or degree to be registered

   w ith the Secretary ofthe Treasury pursuantto Title 31,U nited States Code,Section 5330.

                   At no time relevantto this Superseding lnformation did defendant SALOM O N

   BENDAYAN registerw iththeSecretary oftheTreasury pursuantto Title31,United StatesCode,

   Section 5330.

                   Beginning atleastasearly as in and around 2012 and continuing untilon orabout

   A pril 8.20l5,in M iam i-Dade County. in the Southern District of Florida,and elsewhere. the

   defendant

                                     SA LO M O N BEN DA Y AN ,
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   did knowingly conduct,control,m anage,supervise,direct,and own a11orpa14 ofan unlicensed

   naoney transmitting business,as that tenn is defsned in Title 18,United States Code,Section

   1960(b),bytransfeningfundswithinthiscountryand to locationsabroadonbehalfOfthepublic
   by m eansofw ire,w hich affected interstate and fbreign com m ercew hile fàiling to com ply w ith the

   m oney transm itting business registration requirem ents under Section 5330 of Title 31,U nited

   StatesCode-and regulationsprescribed undersuch section.

          A1lin violationofTitle l8,United StatesCode,Section 1960(a).
                                  FO R FE ITU R E A LLEG A TIO N S
                             (Title18,United StatesCode,Section982)
                  TheallegationsofthisSuperseding Informationare re-alleged and bythisreference

   fully incorporated herein forthe purpose ofalleging forfeiture to the U nited States ofA m erica of

   certain property in w hich the defendant,SA LO M O N BEND A YA N ,has an interest.

                  Upon conviction oftheoffense alleged in the Superseding lnfonnation,

                                      SA LO M O N BEND A YA N ,

   Defkndantherein,shall forfkitto the United States,pursuantto Title 18,United States Code,

   Section 982(a)(1),any property,realor personal,involved in such Offense,t'
                                                                            )rany property
   traceable to such property.

                  Ifany ofthe forfeitable property described in paragraph 2 above,as a resultofany

   actorom ission ofthe defendant.

          (a)     cannotbelocated upon theexerciseofdue diligence'
                                                                 ,
                  has been transt-
                                 erred orsold to,ordeposited w ith a third party;

                  hasbeenplaced beyondthejurisdictionoftheCourt;or
          (d)     hasbeen comm ingled with otherproperty which cannotbe subdivided without
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                difficulty,

   itistheintentionoftheUnited States,pursuanttoTitle21,UnitedStatesCode,Section853(p),as
   incol-
        poratedbyTitle 18,UnitedStatesCode,Section982(b),toseek tbrfeitureOfanyOther
   property t)fthedefendantsup t()the valueofthepropertydescribed in paragraph 2 above.

         Allpursuantto Title 18,United StatesCode,Section 982.




   W l RED O A .FER -R
      ITED STA TES A TTORN EY




   K THERIN E 'ERGU N
   LIN D A M .RIC CI
   SPECIA L A SSISTAN T UN ITED STA TES A TTO RN EYS



   M .KEN DA LL DA Y
   CH IEF,A SSET FO RFEITU RE M ON EY LA UN D ERIN G SECTION


                      #
   J SEPH PA ZZO
   D EPARTM ENT O F J     TIC E TRIA L A TTO RN EY
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                                 UNITED STATES DISTRICT CO URT
                                 SO UTHERN DISTRICT OF FLO RIDA

UNITED STATES OF AM ERICA                          CASE NO.15-20840-CR-COO IkE(s)
VS.
                                                   CERTIFICATE O F TRIAL ATTORNEY*
SALOMON BENDAYAN,

                         Defendant.
                                                         /Superseding Case Inform ation:


Coud Di
      vision:(sel
                ectOne)                                   New Defendantts)        Yes         No      x
                                                          NumberofNew Defendants
  X    M iam i           KeyW est                         Totalnumberofcounts           1
       FTL               W PB     FTP

Ido hereby cedi
              fy that:
                 I have carefully considered the al
                                                  legations of the indictment, the num ber of defendants,the
                 numberofprobable witnesses and the I  egalcomplexi  ti
                                                                      es ofthe Indictment/lnformation attached
                 hereto.
                 Iam aware thatthe information supplied on this statem entwillbe relied upon by the Judges of
                 this Coud in setting their cal
                                              endars and scheduling criminaltrials under the m andate of the
                 SpeedyTrialAct,Title 28 U.S.C.Secti on 3161.
                 Interpreter:(YesorNo)             Yes
                                                     -
                 ListIanguage and/ordialect     Spanish
       4.        This case willtake   0      daysforthe padies to try.
       5.        Please check appropriate categoryand type ofoffense Iisted bel
                                                                              ow:
                                                                 (Checkonlyone)

                 l       0 to 5 days           x                 Petty
                 11      6 to 10 days                            Minor
                 III     11to 20 days                            Misdem ,
                 IV      21to 60 days                            Felony   X
                 V       61daysand over

       6.        Hasthiscase been previousl
                                          yfiled inthis DistrictCoud? (YesorNo)YES           Ifyes:
                 Judge:Cooke                              Case No.15-20840
                 (Attachcopyofdispositive order)
                 Hasacomplaintbeenfiledinthismatter?(YesorNo)               No                  Ifyes:
                 Magistrate Case No.:
                 Rel
                   ated Miscellaneous num ber:
                 Defendantts)infederalcustodyasof:
                 Defendantts)instatecustodyasof:
                 Rule 20 from the Di
                                   strictof:
                 Isthisa potenti
                               aldeathpenaltycase?(YesorNo) No
                 Does this case originate from a matter pending in the Nodhern Region of the U.S.Attorney's
                 Office pri
                          orto October14,2003?            Yes X             No
                 Does this case originate from a matterpending in the CentralRegion of U. ttorney's Office
                 priorto September1,2007?                  Yes X            N          X .
                                                                                                       f

                                                                    S H P AZ                55 21 1)
                                                                 TrialA ttom ey
                                                                 Crim inalD ivision
                                                                 United StatesD epartm entofJustice
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                            UNITED STATES DISTRICT COURT
                            SO UTH ERN D ISTR IC T O F FLO RIDA

                                      PEN ALTY SHEET

   Defendant'sN am e:SA LO M O N B EN D A YA N

   CaseNo: 15-20840-CR-COOKE(s)

   Count #:1

   Unlicensed M oney Transm itter

   Title18,United StatesCode,Section 1960(a)

   *M ax.Penalty:Five(5)Years'lmprisonment




    *Refers only to possible term of incarceration,doesnotinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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AO 455(Rev.OI/09)Waiverofanlndi
                              ctment               'ETE   ''-E'E


                                U NITED STATES D ISTRICT C OURT
                                                     forthe
                                           Southern DistrictofFlorida

               United StatesofAm erica
                           V.                                      CaseNo. 15-20840-CR-COOKE(S)
              SALOMON BENDAYAN,



                                         W AIVER O F AN INDICTM ENT

       Iunderstand thatIhave been accused ofone ormore offensespunishable by im prisonm entformore than one
year. Iwasadvised in open courtofmy rightsand thenature ofthe proposed chargesagainstme.

       Afterreceiving thisadvice,Iwaive my rightto prosecution by indictm entand consentto prosecution by
information.




                                                                                 Howard Brownstein
                                                                            Printednameofdefendant'
                                                                                                  sattorney




                                                                           United Statps Maqistratç ludqe
                                                                                                    -         -   -. .-   -

                                                                              Judge'
                                                                                   sprinted name andtitle
